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R & R6.1-001 04- -2023 62

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No. cw ° ALT ONAGA

R & R COSMETICS L.L.C.,

Mac,
Ss
Plaintiff, : ReraTe
, ° BANDE UDGy
TRA

V.

PIERRE ASCAR LATOUCHE,

(an individual), RENO DOURA

(an individual), CRAIG DOURA

(an individual), D & L COSMETICS
INC. (a corporation) and ONE GLOBE
INC. (a corporation),

Defendants.

COMPLAINT FOR TRADEMARK INFRINGEMENT,
FALSE DESIGNATION OF ORIGIN, UNFAIR
COMPETITION, COUNTERFEITING AND REQUEST
FOR TRIAL BY JURY

R & R Cosmetics, L.L.C., plaintiff, in the above styled cause, sues defendants,
PIERRE ASCAR LATOUCHE, (an individual), RENO DOURA, (an individual), CRAIG
DOURA, (an individual), D & L COSMETICS INC. (a corporation) and ONE GLOBE

INC. (a corporation).

Plaintiff, R & R COSMETICS, L.L.C., by its attorney, and for its Complaint against

defendants, alleges as follows:

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JURISDICTION

1) Plaintiff's claims, as more fully stated below, arise under the trademark laws of
the United States, 15 U.S.C. 1114 and 1125(a), and under the laws of unfair competition.

2) Jurisdiction is vested in this Court under 28 U.S.C. 1331, 28 U.S.C. 1332, and
28 U.S.C. 1338(a) and (b), and proper venue exists under 28 U.S.C. Section 1391.

THE PARTIES

3) Plaintiff R & R Cosmetics, L.L.C., is a limited liability company of New Jersey,
having a place of business at 900 Passaic Avenue, Building 62, East Newark, New Jersey
07029. Plaintiff is engaged in the cosmetics business as a manufacturer and distributor of
cosmetic products.

4) Defendant, Pierre Ascar LaTouche (also known as Jean Pierre), is an individual
residing in Miami, Florida, at the last known address of 1253 N. W. 49" Drive, Coral Spring,
Florida 33076, and who does business in Miami, Florida relating to cosmetics (hereinafter
defendant Pierre La Touche). Defendant, Pierre LaTouche has committed acts of trademark
infringement, trade name infringement and counterfeiting in this district and elsewhere.

5) Defendant, Reno Doura, is an individual residing in Miami, Florida, and who does
business in Miami, Florida relating to cosmetics located at 6500 N. E. 4" Avenue, Miami,
Florida. Defendant Doura has committed acts of trademark infringement, trade name

infringement and counterfeiting in this district and elsewhere.
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6) Defendant, D & L Cosmetics Inc., on information and belief, is a corporation of
Florida, having a principal place of business at 6500 N. E. 4" Avenue, Miami, Florida 33138.
Defendant, D & L Cosmetics Inc., has committed acts of trademark infringement, trade name
infringement and counterfeiting in this district and elsewhere. On information and belief,
defendant Pierre LaTouche and defendant Doura are owners of D & L Cosmetics, and
control and participate in the infringing activities alleged in this Complaint.

7) Defendant One Globe Inc., on information and belief, is a corporation of Florida,
having a principal place of business at 380 N. E. 67" Street, Miami, Florida 33138.
Defendant One Globe Inc., has committed acts of trademark infringement, trade name
infringement and counterfeiting in this district and elsewhere.

8) Defendant, Craig Doura, is an individual residing in Miami, Florida, and who does
business in Miami, Florida relating to cosmetics located at 380 N. E. 67" Street, Miami,
Florida 33138. Defendant Doura has committed acts of trademark infringement, trade name
infringement and counterfeiting in this district and elsewhere.

BACKGROUND FACTS

9) Musthafa E. Kamal, the President of R&R Cosmetics, and Eranhikkal M. Hannef,
an officer of R & R, purchased all the stock of and assets of A.K. Cosmetics Inc., which was
owned by Pierre Ascar LaTouche and Keith Smith. The assets purchased included the
trademarks of A.K. Cosmetics which included the following trademarks used on cosmetic

products: RINJU, RINJU BEAUTE REELLE, and PIERRE LATOUCHE.
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10) In the stock purchase agreement, Pierre Ascar LaTouche agreed that he
transferred all rights to the trademark PIERRE LATOUCHE, and that he would not in the
future use this trademark on cosmetic products. Keith Smith also signed a trademark
assignment transferring all rights to the trademark registration for RINJU to R & R
Cosmetics, Inc. (Trademark Registration No. 2,202,886).

11) Musthafa E. Kamal, the President of R & R Cosmetics, and Eranhikkal M.
Haneef dissolved A.K. Cosmetics Inc. and formed R & R Cosmetics Inc. R & R Cosmetics
currently owns all rights to the trademarks RINJU, RINJU BEAUTE REELE and PIERRE

LATOUCHE and to the trade name R & R COSMETICS.

Infringement

12) The Defendants Pierre Ascar LaTouche (PLT), Reno Doura, Craig Doura, D &
L Cosmetics Inc. (owned by Defendants Pierre Ascar LaTouche and Reno Doura) are
infringing R & R Cosmetics’ trademarks and trade name by duplicating exactly and
counterfeiting R & R’s cosmetic bottles, which includes:
a) copying the trade name R & R COSMETICS on Defendants’ cosmetic
bottles;
b) copying the trademarks RINJU, RINJU BEAUTE REELE, and PIERRE

LATOUCHE on Defendants’ cosmetic bottles;
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c) copying the “look” of R & R’s bottles which includes copying the art work,
typeface, wording, text and UPC Code so that Defendants cosmetic bottles look identical to
Plaintiff's cosmetic bottles so that the infringing bottles can be intermixed with Plaintiff's
cosmetic bottles to confuse the public and to confuse R & R’s customers.

13) Defendant One Globe is one of Plaintiff R & R’s largest customers in southern
Florida. One Globe used to buy twelve pallets at a time of R & R’s products, but recently
they bought only four. One Globe is intermixing and selling R & R’s legitimate cosmetic
bottles with Defendants’ counterfeit infringing cosmetic bottles so that the public and R &
R’s customers are confused and cannot discern that counterfeit bottles are mixed in with
legitimate R & R cosmetic bottles.

14) Photographs of R & R’s legitimate cosmetic bottles having the trademarks RINJU,
RINJU BEAUTE REELLE, and PIERRE LATOUCHE, and having the trade name R & R
Cosmetics as the distributor are attached to the Kamal Declaration. Photographs of
Defendants’ counterfeit cosmetic bottles having the identical trademarks, the identical trade
name R & R Cosmetics, and identical art work, text, type face and UPC Code, are attached
to the Kamal Declaration...

The Screen Printer

15) The screen printer of the infringing and counterfeit cosmetic bottles is Magic
Printing Corp. located at 1130 N. W. 159" Drive, Miami, Florida 33169. Plaintiff visited this

location on February 12, 2004 and took photographs of boxes containing the infringing
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bottles. On February 12, 2004, Magic Print had approximately 30 cartons of infringing
Pierre LaTouche Cosmetic bottles, each carton containing approximately 189 bottles, for a
total of 5,670 infringing and counterfeit bottles. In addition, on February 12, 2004, Magic
Print had approximately 170 cartons of infringing RINJU BEAUTE REELLE cosmetic
bottles, each carton contaiming approximately 1 89 bottles, fora total of 32,130 infringing and
counterfeit bottles.

16) R & R picked up from Magic Print the 200 cartons of the infringing and
counterfeit printed bottles of PIERRE LATOUCHE and RINJU BEAUTE REELLE,
totalling 37.800 printed bottles. R & R has these 200 cartons in their custody. An invoice
from Magic Print to D & L Cosmetics shows that 92,421 infringing bottles were printed by
Magic Print for the Defendants. Thus, 54,621 printed cosmetic bottles are still not accounted
for.

17) Defendants ordered Magic Print to screen print 200,000 bottles of Pierre La
Touche and 60,000 bottles of Rinju Beaute Reelle. At least 34,000 of these printed cosmetic
botties have been filled by the filler (see paragraph 18 below), and are in storage at
Defendant One Globe’s warehouse to be sold and some may have already been sold by
Defendant One Globe Inc.

The Bottle Filler
18) The filler of the infringing and counterfeit cosmetic bottles is Defendant D &

L Cosmetics Inc. owned by Defendants Reno Doura and Pierre Ascar LaTouche, located at
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6500 N.E. 4" Avenue, Miami, Florida 33138.

19) Defendant D & L Cosmetics has filled at least 34,000 intringing bottles, and
is presently working to fill additional bottles that have been printed.
Irreparable Damage To Plantiff R & R Cosmetics

20) By duplicating and counterfeiting Plaintiff's cosmetic bottles, and intermixing
the counterfeit bottles with Plaintiff's legitimate cosmetic bottles, Defendants are causing
irreparable harm and damage to Plaintiff R & R Cosmetics. Plaintiff R & R has no control
of the quality of the cosmetics being made and sold by Defendants to Plaintiff's customers,
and this can destroy Plaintiff's business, reputation and goodwill, Plaintiff's customers will
buy and use Defendant’s infringing and counterfeit products, not knowing that they are made
by an infringer. The quality of the infringing product is inferior and this will damage R &
R’s business and goodwill.

21) For these reasons, Plaintiff R & R Cosmetics respectfully pleads to this Court and
urgently requests that an immediate restraining order and injunction be granted ordering
Defendants to immediately stop all infringing and counterfeit activities, as enumerated above,
including printing and filling infringing bottles; offering for sale, selling, marketing and
distributing infringing bottles; recalling all infringing bottles from customers, and tuming
over to R & R all infringing inventory of empty bottles not yet filled, and all infringing
inventory of bottles that have been filled; and locking up Defendant D & L’s filling facility
to prevent further filling and selling of infringing cosmetic bottles.

22) Such relief has not been previously requested by Plaintiff R & R Cosmetics.
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CAUSES OF ACTION
COUNT I
TRADEMARK INFRINGEMENT
UNDER 15 U.S.C. 1114(1)

23) Plaintiff repeats and re-alleges the allegations contained in paragraphs | through
22 above.

24) Plaintiff owns Federal Registration No. 2,202,886 for RINJU and Plaintiff owns
Federal Registration No. 2,788,206 for RINJU BEAUTE REELLE. Defendants’ actions of
making and selling cosmetics and related items to the public under the registered trademarks
RINJU and RINJU BEAUTE REELLE in interstate commerce, without the consent of
plaintiff, has caused and continues to cause confusion, mistake, and deception in the minds
of the public.

25) Defendants’ use of the trademarks RINJU and RINJU BEAUTE REELLE
in interstate commerce has infringed plaintiff's federally-registered trademarks RINJU and
RINJU BEAUTE REELLE in violation of Section 32(1) of the Lanham Act, 15 U.S.C.
1114¢1).

26) By reason of the foregoing, plaintiff has been injured in an amount not yet fully
determined, but believed to be in excess of $500,000.

27) Based on Defendants’ prior knowledge of Plaintiff's registered marks,
defendants’ actions have been knowing, intentional, wanton, and willful, entitling plaintiff

to damages, treble damages, profits, attorney's fees, and the costs of this action.
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COUNT I
FALSE DESIGNATION OF ORIGIN
UNDER 15 U.S.C. 1125(a)

28) Plaintiff repeats and re-alleges the allegations contained in paragraphs | through
22 above.

29) Defendants’ actions of making and selling cosmetics and related items under the
trademarks RINJU, RINJU BEAUTE REELLE, and PIERRE LATOUCHE, and the
trade name R & R COSMETICS, in interstate commerce, without the consent of plaintiff,
is a false designation of origin, and has caused and continues to cause confusion, mistake,
and deception in the minds of the public.

30) Defendants’ use of the trademarks RINJU, RINJU BEAUTE REELLE, and
PIERRE LATOUCHE, and the trade name R & R COSMETICS, as a false designation
of origin in interstate commerce has infringed plaintiff's trademark rights in violation of
Section 43(a) of the Lanham Act, 15 U.S.C. 1125(a).

31) By reason of the foregoing, plaintiff has been injured in an amount not yet fully
determined, but believed to be in excess of $500,000.

32) Based on Defendants’ prior knowledge of Plaintiff’s registered marks,
defendants' actions have been knowing, intentional, wanton, and willful, entitling plaintiff

to money damages, treble damages, profits, attorney's fees, and the costs of this action.
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COUNT Ill
MISREPRESENTATION AS TO SOURCE
UNDER 15 U.S.C. 1125(a)

33) Plaintiff repeats and re-alleges the allegations contained in paragraphs | through
22 above.

34) Defendants’ actions of making and selling cosmetics and related items under the
trademarks RINJU, RINJU BEAUTE REELLE, and PIERRE LATOUCHE, and the
trade name R & R COSMETICS, in interstate commerce, without the consent of plaintiff,
is a misrepresentation as to source, and has caused and continues to cause confusion, mistake,

and deception in the minds of the public.

35) Defendants’ use of RINJU, RINJU BEAUTE REELLE, and PIERRE
LATOUCHE, and the trade name R & R COSMETICS, as a misrepresentation as to
source, in interstate commerce, has infringed plaintiff's trademark rights in violation of
Section 43(a) of the Lanham Act, 15 U.S.C. 1125(a).

36) By reason of the foregoing, plaintiff has been injured in an amount not yet fully
determined, but believed to be in excess of $500,000.

37) Defendants’ actions have been knowing, intentional, wanton, and willful,
entitling plaintiff to money damages, treble damages, profits, attorney's fees, and the costs

of this action.

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COUNT IV
FLORIDA UNFAIR COMPETITION
UNDER §501.201

38) Plaintiff repeats and re-alleges the allegations contained in paragraphs 1 through
22 above.

39) Defendants’ actions of making and selling cosmetics and related items under the
trademarks RINJU, RINJU BEAUTE REELLE, and PIERRE LATOUCHE, and the
trade name R & R COSMETICS, in interstate commerce, without the consent of plaintiff,
has caused and continues to cause confusion, mistake, and deception in the minds of the
public.

40) Defendants’ actions constitute palming off, misappropriation and infringement
of plaintiff's trademarks RINJU, RINJU BEAUTE REELLE, and PIERRE
LATOUCHE, and the trade name R & R COSMETICS, which is actionable under the
Florida law of unfair competition §501.201.

41) By reason of the foregoing, plaintiff has been injured in an amount not yet fully
determined, but believed to be in excess of $500,000.

42) Defendants’ actions have been knowing, intentional, wanton, and willful,
entitling plaintiff to money damages, punitive damages, profits, attorney's fees, and costs of

this action.

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COUNT V
FEDERAL TRADEMARK DILUTION
ACT OF 1995 UNDER 15 U.S.C. 1125(c)

43) Plaintiff repeats and re-alleges the allegations contained in paragraphs | through
22 above.

44) Defendants’ intentional actions of making and selling cosmetics and related items
under the registered trademarks RINJU and RINJU BEAUTE REELLE, in interstate
commerce, without the consent of plaintiff, is a dilution of plaintiff's famous trademarks, and
has caused and continues to cause dilution of the distinctive quality of the marks.

45) Defendants’ use of the infringing marks is willful, and defendant intends to trade
on plaintiff's reputation and to cause dilution of the distinctive quality of the marks RINJU
and RINJU BEAUTE REELLE in violation of Section 43(c) of the Lanham Act, 15 U.S.C.
1125(c).

46) By reason of the foregoing, plaintiff has been injured in an amount not yet fully
determined, but believed to be in excess of $500,000.

47) Defendants’ actions have been knowing, intentional, wanton, and willful,
entitling plaintiff to money damages, treble damages, profits, attorney's fees, and the costs

of this action.

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COUNT VI
FLORIDA TRADEMARK ANTI-DILUTION
STATUTE UNDER §495.151

48) Plaintiff repeats and re-alleges the allegations contained in paragraphs | through
22 above.

49) Defendants’ actions of making and selling cosmetics and related items to the
public under the trademarks RINJU, RINJU BEAUTE REELLE, and PIERRE
LATOUCHE, and the trade name R & R COSMETICS, in interstate commerce, without
the consent of plaintiff, is a dilution of the distinctive trademarks RINJU, RINJU BEAUTE
REELLE, and PIERRE LATOUCHE, and the trade name R & RCOSMETICS, and has
caused and continues to cause dilution of the marks and confusion, mistake, and deception
in the minds of the public.

50) Defendants’ use of RINJU, RINJU BEAUTE REELLE, and PIERRE
LATOUCHE, and the trade name R & R COSMETICS is willful, and defendant intended
to cause dilution of the distinctive quality of plaintiff's trademarks in violation of the Florida
Anti-dilution law §495.151.

51) By reason of the foregoing, plaintiff has been injured in an amount not yet fully
determined, but believed to be in excess of $500,000.

52) Defendants’ actions have been knowing, intentional, wanton, and willful,
entitling plaintiff to money damages, treble damages, profits, attorney's fees, and the costs

of this action.
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COUNT VII
Counterfeiting under 15 U.S.C §1117

53) Defendants’ have violated the trademark counterfeiting laws under 15 U.S.C.
1117(c).

54) Plaintiff's trademarks RINJU and RINJU BEAUTE REELLE are federally
registered trademarks and Defendant’s have identiclally copied the RINJU and RINJU
BEAUTE REELLE trademarks on their cosmetic bottles.

55) This constitutes knowing and willful counterfeiting under the statute 15 U.S.C.
1117(c) and plaintiff is entitled to all of the remedies provided by this statute.

WHEREFORE, plaintiff demands:

1) a preliminary and permanent injunction preventing defendants’ continued
infringement of plaintiff's trademarks RINJU, RINJU BEAUTE REELLE, and PIERRE
LATOUCHE, and the trade name R & R COSMETICS preventing their use as a false
designation of origin and preventing continued unfair competition;

2) an accounting of profits and an award of money damages resulting from
defendants’ infringement, false designation of origin, unfair competition, dilution and
counterfeiting, and the trebling of such damages under the trademark laws, because of the
knowing, intentional, willful, and wanton nature of defendants’ conduct in view of the prior
knowledge of defendants;

3) an award of punitive damages for intentional and willful acts of unfair
competition, dilution and counterfeiting;

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4) an award of interest, attorney's fees, and costs; and
5) such other and further relief as the Court deems just and equitable under the

circumstances.

REQUEST FOR JURY TRIAL

Pursuant to F.R.C.P. 38, plaintiff hereby demands its right to a jury trial on all issues

triable to a jury.

Respectfully submitted,

R & R COSMETICS, L.L.C.

wy Sw ABS
(AHA SUTTON (ES- 2189)

Local Counsel O Counsel
Kirk DeLeon EZRA SUTTON, P. A.
DeLeon & DeLeon Plaza 9, 900 Route 9
4 West Flagler Street, Suite 325 Woodbridge, New Jersey 07095
Miami, FL 33130 (732)-634-3520 PH/3511 FAX
Florida Bar No.: 957593 Attomeys for Plaintiff
Dated: February , 2004

15
Int. CL: 3
Prior U.S. Cls.: 1, 4, 6, 50, 51 and 52

United States Patent and Trademark Office

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Reg, No. 2,788,206
Registered Dec. 2, 2003

TRADEMARK
PRINCIPAL REGISTER

RINJU BEAUTE REELLE

R & R COSMETICS LLC. (NEW JERSEY LIMITED
LIABILITY COMPANY)

900 PASSAIC AVENUE, BUILDING #62

EAST NEWARK, NJ 07029

FOR: HAND AND BODY LOTIONS; HAIR SHAM-
POOS,; HAIR CONDITIONERS; SKIN MOISTURI-
ZERS; SKIN CONDITIONERS; HAIR POLISH; HAIR
OIL; NAIL CARE PRODUCTS, NAMELY, NAIL
CARE PREPARATIONS, SKIN CARE PRODUCTS,
NAMELY, LOTIONS AND MOISTURIZERS; HAIR
CARE PRODUCTS, NAMELY, SHAMPOO, STY-
LING GEL; NAIL POLISH; BEAUTY SOAP; PER-
FUME, COLOGNE; HAIR RELAXER; DEODORANT
FOR PERSONAL USE; FACE CREAMS; AND SKIN
CREAMS, IN CLASS 3 (U.S. CLS. 1, 4, 6, 50, 5t AND
52).

FIRST USE 0-0-1997; IN COMMERCE 0-0-1997.

NO CLAIM IS MADE TO THE EXCLUSIVE
RIGHT TO USE "BEAUTE", APART FROM THE
MARK AS SHOWN.

THE ENGLISH TRANSLATION OF THE WORD
"BEAUTE REELLE" IN THE MARK IS "REAL
BEAUTY".

SER. NO. 76-417,604, FILED 6-6-2002.

C. DIONNE CLYBURN, EXAMINING ATTORNEY

ATTACHMENT | exnipit__/_
Case 1:04-cv-20362-MGC Document1 Entered on FLSD Docket 02/18/2004 Page 17 of 26

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CERTIFICATE OF REGISTRATION
PRINCIPAL REGISTER

The Mark shown in this certificate has been registered in the United States
Patent and Trademark Office to the named registrant.

The records of the United States Patent and Trademark Office show that
an application for registration of the Mark shown in this Certificate was filed in the
Office; that the application was examined and determined to be in compliance with
the requirements of the law and with the regulations prescribed by the Director of the
United States Patent and Trademark Office; and that the Applicant is entitled to
registration of the Mark under the Trademark Act of 1946, as Amended.

A copy of the Mark and pertinent data from the application are part of
this certificate.

This registration shall remain in force for TEN (10) years, unless

terminated earlier as provided by law, and subject to compliance with the provisions
- of Section 8 of the Trademark Act of 1946, as Amended.

Director of the United States Patent and Trademark Office

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UNITED STATES
’ PATENT AND
**&%& x TRADEMARK OFFICE

es Under Secretary of Commerce For Intellectual Property and
AUGUST 23, 2002 PTAS Director of the United States Patent and Trademark Office
Washington, DC 20231

EZRA SUTTON, P.A. www.uspto.gov

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WOODBRIDGE, NJ 07095 *102136060A*

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RECORDATION DATE: 06/18/2002 REEL/FRAME: 002531/0512
NUMBER OF PAGES: 3

BRIEF: ASSIGNS THE ENTIRE INTEREST AND THE GOODWILL

ASSIGNOR:
A. K. COSMETICS LIMITED DOC DATE: 05/29/2002
CITIZENSHIP:
ENTITY: CORPORATION
ASSIGNEE:
R & R COSMETICS LLC CITIZENSHIP:
900 PASSAIC AVENUE ENTITY: LIMITED LIABILITY COMPANY

BUILDING # 62
EAST NEWARK, NEW JERSEY 07029

APPLICATION NUMBER: 75366207 FILING DATE: 10/01/1997
REGISTRATION NUMBER: 2202886 ISSUE DATE: 11/10/1998

MARK: RINJU
DRAWING TYPE: WORDS, LETTERS, OR NUMBERS IN TYPED FORM

ATTACHMENT | EXHIBIT_ 2

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Thank you for your request. Here are the latest results from the TARR web server.
This page was generated by the TARR system on 2004-02-13 16:22:20 ET
Serial Number: 75366207 Assignment Information

Registration Number: 2202886 Assignment Information

Mark (words only): RINJU

Standard Character claim: No

Current Status: Registered.

Date of Status: 1998-11-10

Filing Date: 1997-10-01

Transformed into a National Application: No
Registration Date: 1998-11-10

Register: Principal

Law Office Assigned: TMEG Law Office 106

If you are the applicant or applicant's attorney and have questions about this file, please contact the
Trademark Assistance Center at TrademarkAssistanceCenter@uspto.gov

Current Location: 900 -Warehouse (Newington)

Date In Location: 1998-11-16

LAST APPLICANT(S)(OWNER(S) OF RECORD

1. A.K. Cosmetics Limited

Address:

A.K. Cosmetics Limited

P.O. Box 6008

North Babylon, NY 11703

United States

Legal Entity Type: Corporation

State or Country of Incorporation: New York

GOODS AND/OR SERVICES

MOISTURIZER AND SKIN CONDITIONER, NAMELY BODY AND HAND LOTION
International Class: 003

First Use Date: 1997-08-21

First Use in Commerce Date: 1997-08-21

http://tarr.uspto. gov/servlet/tarr?regser=registration&entry=2202886 2/13/2004
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Basis: | (a)
ADDITIONAL INFORMATION
(NOT AVAILABLE)
MADRID PROTOCOL INFORMATION
(NOT AVAILABLE)

PROSECUTION HISTORY

1998-11-10 - Registered - Principal Register

1998-08-18 - Published for opposition

1998-07-17 - Notice of publication

1998-06-11 - Approved for Pub - Principal Register (Initial exam)
1998-06-03 - Examiner's amendment mailed

1998-06-03 - Previous allowance count withdrawn

1998-05-19 - Approved for Pub - Principal Register (Initial exam)
1998-05-11 - Examiner's amendment mailed

1998-05-07 - Case file assigned to examining attorney

CONTACT INFORMATION

Correspondent (Owner)
MORTON FRIEDMAN (Attorney of record)

MORTON FRIEDMAN
1101 DITMAS AVE
BROOKLYN NY 11218
United States

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2/13/2004
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Record 1 out of 1

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(TARR contains current status, correspondence address and attorney of record for this mark.
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Use the "Back" button of the Internet Browser to return to TESS)

Typed Drawing

Word Mark PIERRE LATOUCHE

Goods and = 1C 003. US 001 004 006 050 051 052. G & S: skin moisturizers, nail care preparations, non-
Services medicated skin care preparations, hair care preparations, perfumes, colognes, and personal
deodorant. FIRST USE: 19970800. FIRST USE IN COMMERCE: 19970800

Mark

Drawing (1) TYPED DRAWING

Code

Serial

Number 76417606

Filing Date June 6, 2002

Current

Filing Basis 1A

Original 1A

Filing Basis

Owner (APPLICANT) R & R COSMETICS LLC LIMITED LIABILITY COMPANY NEW JERSEY
900 Passaic Avenue Building #62 East Newark NEW JERSEY 07029

Attorney of

Record Ezra Sutton

Type of = TRADEMARK

Mark .

Register © PRINCIPAL ATTACHMENT / EXHIBIT 3

Other Data The name in the mark does not identify a living individual.

Live/Dead

Indicator LIVE

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HOME | INDEX | SEARCH | SYSTEM ALERTS | BUSINESS CENTER | NEWS&NOTICES |
CONTACT US | PRIVACY STATEMENT

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Thank you for your request. Here are the latest results from the TARR web server.
This page was generated by the TARR system on 2004-02-13 12:32:50 ET

Serial Number: 76417606

Registration Number: (NOT AVAILABLE)

Mark (words only): PIERRE LATOUCHE

Standard Character claim: No

Current Status: Final review prior to publication has been completed, application will be published for
opposition,

Date of Status: 2004-02-11

Filing Date: 2002-06-06

The Information will be/was published in the Official Gazette on 2004-03-23
Transformed into a National Application: No

Registration Date: (DATE NOT AVAILABLE)

Register: Principal

Law Office Assigned: LAW OFFICE 103

Attorney Assigned:
RAUEN JAMES A Employee Location

Current Location: 650 -Publication And Issue Section

Date In Location: 2004-02-11

LAST APPLICANT(S)/OWNER(S) OF RECORD

1.R & R COSMETICS LLC

Address:

R & R COSMETICS LLC

900 Passaic Avenue Building #62

East Newark, NJ 07029

United States

Legal Entity Type: LIMITED LIABILITY COMPANY
State or Country Where Organized: New Jersey

GOODS AND/OR SERVICES

skin moisturizers, nail care preparations, non-medicated skin care preparations, hair care preparations,
perfumes, colognes, and personal deodorant

http://tarr.uspto.gov/servlet/tarr?regser=serial &entry=764 | 7606+ 2/13/2004
Latest Stahi9fnfo/-20362-MGC Document1 Entered on FLSD Docket 02/18/2004 Page Bgpef26r 3

International Class: 003
First Use Date: 1997-08-00
First Use in Commerce Date: 1997-08-00

Basis: 1(a)

ADDITIONAL INFORMATION

Name Portrait Consent: The name in the mark does not identify a living individual.

MADRID PROTOCOL INFORMATION

(NOT AVAILABLE)

PROSECUTION HISTORY

2004-01-21 - Approved for Pub - Principal Register (Initial exam)
2003-12-03 - Communication received from applicant
2003-12-30 - Case File in TICRS

2003-12-05 - Communication received from applicant
2003-12-05 - PAPER RECEIVED

2003-06-05 - Final refusal mailed

2003-05-01 - Communication received from applicant
2003-05-01 - PAPER RECEIVED

2003-05-21 - Communication received from applicant
2002-10-25 - Non-final action mailed

2002-10-24 - Case file assigned to examining attorney

CONTACT INFORMATION

Correspondent (Owner)
Ezra Sutton (Attorney of record)

EZRA SUTTON

LAW OFFICES EZRA SUTTON, P.A.
PLAZA 9, 900 ROUTE 9
WOODBRIDGE, NEW JERSEY 07095

Phone Number: 732-634-3520
Fax Number: 732-634-3511

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Case 1:04-cv-20362-MGC Document1 Entered on FLSD Docket 02/18/2004 Page 24 of 26

ATTACHMENTS NOT
SCANNED

LEGAL SIZE DOCUMENTS —

LARGE EXHIBITS

| DOUBLE SIDED DOCUMENTS

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EXTRADITION DOCUMENTS

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(C) ATTORNEYS (Fn HABE, ADDRESS, AND TELEPHONE NUMBER, | ATTORNEYS aF KNOWN Cy
EZRA SUTTON, P.A., Plaza 9, 900 Route 9 Mac
Woodbridge, NJ 07095 = Tel: (732) 634-3520 1S

(@) CIRCLE COUNTY WHERE ACTION AROSE: (Gn0e)_ MONROE. EAOWARD, PRLMBEACH MARTI ora

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TRADEMARK INFRINGEMENT AND TRADEMARK COUNTERFEITING.

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COMMISSIONER OF PATENTS & TRADEMARKS
2121 CRYSTAL DRIVE
SUITE 1100
ARLINGTON, VA 22201

REPORT ON THE
FILING OR DETERMINATION OF AN
ACTION REGARDING A PATENT OR
TRADEMARK

In Compliance with 35 § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been

filed in the U.S. District Court

Southern District of Florida

on the following CI Patents or C1 Trademarks:

DOCKET NO. DATE FILED U.S. DISTRICT COURT
{04cv20362.] 2/17/04] Southern District of Florida
PLAINTIFF DEFENDANT
R&R Cosmetics, LLC Pierre LaTouche, Renaud Doura, Craig Doura, D&L Cosmetics, Inc.
And One Globe, Inc.
PATENT OR DATE OF PATENT
TRADEMARK NO. OR TRADEMARK HOLDER OF PATENT OR TRADEMARK

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In the above—entitled case, the following patent(s) have been included:
DATE INCLUDED INCLUDED BY
(1 Amendment C] Answer CI Cross Bill (CC) Other Pleading
PATENT OR DATE OF PATENT
TRADEMARK NO. OR TRADEMARK HOLDER OF PATENT OR TRADEMARK
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In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT
Final Order of Dismissal and Order denying all pending motions as moot. The Clerk shall CLOSE THIS CASE.
CLERK (BY) DEPUTY CLERK DATE
CLARENCE MADDOX Lorraine Sandelin 9/27/04

Copy 1—Upon initiation of action, mail this copy to Commissioner

Copy 2—Upon filing document adding patent(s), mail this copy to Commissioner

Copy 3—Upon termination of action, mail this copy to Commissioner

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Copy 4—Case file copy

